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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS
PRICING ANTITRUST LITIGATION                         MDL NO. 2724
                                                     16-MD-2724

THIS DOCUMENT RELATES TO:                            HON. CYNTHIA M. RUFE
ALL ACTIONS


                             DEFENDANTS’ STATUS REPORT

       Pursuant to Pretrial Order No. 13 (MDL Dkt. No. 196), Defendants hereby submit the

enclosed status report setting forth suggestions for the management of the MDL. For ease of

reference, Defendants have divided the status report into five sections, corresponding with the

agenda submitted by the parties on April 20, 2017.


I.     REPORT ON STATUS OF CASES TRANSFERRED INTO THE MDL AND
       POTENTIAL TAG-ALONGS

II.    DOCKETING AND ADMINISTRATION OF MDL

III.   SCHEDULING AND MANAGEMENT OF CASES

IV.    GOVERNING PROTOCOLS – PROTECTIVE ORDER, ESI PROTOCOL, AND
       PRESERVATION ORDER

V.     LEADERSHIP AND LIAISON COUNSEL
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I.       REPORT ON STATUS OF CASES TRANSFERRED INTO THE MDL AND
         POTENTIAL TAG-ALONGS

         Defendants and Plaintiffs have conferred and Defendants incorporate Section I of

Plaintiffs’ status report herein, which includes a chart of cases transferred into the MDL and

potential tag-alongs.

II.      DOCKETING AND ADMINISTRATION OF MDL

         Defendants have conferred with Plaintiffs regarding certain docketing and filing

procedures for various different cases that comprise this MDL. Defendants agree that No. 16-

MD-2724 be maintained as the master docket in this MDL and that separate docket numbers be

created underneath the master docket number for each generic pharmaceutical case. Defendants

also agree that there should be “. . . a system for identifying filings that apply only to DPP, EPP,

or IRP cases[.]” (Plaintiffs’ Status Report, Section II n.1.) For clarity and to avoid confusion,

Defendants believe that within each individual generic pharmaceutical docket, there should be a

sub-docket for each Plaintiff class (i.e., DPPs, EPPs, and IRPs). Each filing would therefore

contain a caption listing the master docket, the generic pharmaceutical and docket number, and

the sub-file docket number specifying which plaintiff actions to which that filing is applicable.

Defendants agree with Plaintiffs “that the structure of the dockets should be established based on

the preferences of the Clerk of Court working in conjunction with all Parties.” (Id.) 1

III.     SCHEDULING AND MANAGEMENT OF CASES

         Defendants submit that the following scheduling and case management processes and

procedures should be implemented across all actions.




1
 The Proposed Pretrial Order Plaintiffs attached to Section II of Plaintiffs’ status report is acceptable to Defendants,
except that it should include sub-file docket numbers specifying which plaintiff actions to which that filing is
applicable.
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                 A.       Consolidated Amended Complaints

         Defendants propose that once Lead Plaintiffs’ Counsel have been appointed, Plaintiffs in

all cases must file Consolidated Amended Complaints so that there are no longer any

overlapping/conflicting class action complaints pending. 2 Based on the complaints filed to date,

Defendants propose that a single Direct Purchaser Consolidated Class Action Complaint and a

single End Payor Consolidated Class Action Complaint should be filed for each of the individual

drugs that are the subject of the pending complaints. This procedure will avoid unnecessary

duplication, inconvenience and confusion caused by having multiple, overlapping complaints on

behalf of the same putative classes of purchasers of the same drug. Defendants propose that

Consolidated Amended Complaints be required to be filed within 30 days of the appointment of

Lead Plaintiffs’ Counsel.

                 B.       Responsive Pleadings and Motions To Dismiss

         Defendants further propose that the scheduling of responsive pleadings and motions to

dismiss in all cases should be done in the most efficient way so that the Court is not deciding

motions to dismiss in all of these cases at the same time. To ensure that the Court and the parties

can devote the necessary time and attention to each of these important motions, Defendants

suggest that motions proceed with respect to an initial, limited number of cases to be identified

after Lead Plaintiffs’ Counsel have been appointed. After rulings on motions in this initial group

of cases, a schedule and process would be set for filing motions to dismiss in the remaining

cases.



2
 Rouses Point Pharmaceuticals, LLC (“Rouses Point”) opposes the consolidation of complaints in the Propranolol
actions. Rouses Point is named as a defendant, with no specific facts pleaded against it, in only two of seven End
Payor Propranolol actions, and has not been named in the three Direct Purchaser Propranolol actions, or any other
product case. It should not reflexively be added to a much broader consolidated complaint. (See Pretrial Order No.
1, para 2.B.)

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       Subject to the Court’s agreement with this approach, Defendants propose that counsel,

within 10 business days of appointment of Lead Plaintiffs’ Counsel, confer and submit a

proposed schedule (or schedules if agreement cannot be reached by all parties) for the filing and

briefing of motions to dismiss in an initial set of cases, consistent with the approach of grouping

as discussed above.

       The Propranolol Defendants recognize that their cases are somewhat differently situated

in light of the motions to dismiss that were decided in the Propranolol cases pending in the

Southern District of New York before Judge Rakoff, on the same day that the JPML transferred

those cases to this Court. Assuming that Plaintiffs will be required to file new consolidated

complaints, and because Judge Rakoff’s decision relied on Second Circuit law (indeed, Judge

Rakoff explicitly declined to follow Third Circuit authority), and that the decision was issued

after the JPML issued its order centralizing the Propranolol cases in this Court, Defendants in

those cases respectfully request that the Court allow renewed briefing on a motion to dismiss

under Third Circuit law.

               C.      Case Management After Responsive Pleadings and Motions to
                       Dismiss

       Defendants submit that there should be no discovery with respect to any given action

pending resolution of a motion to dismiss that action. The United States Supreme Court

recognized in its seminal Twombly decision the extraordinary discovery burdens placed upon

defendants in antitrust cases, and the need for courts to carefully scrutinize antitrust complaints

at the motion to dismiss stage. Until this Court determines that a Plaintiff is entitled to impose

those heavy burdens and expenses in a particular case, Defendants submit that discovery is not

appropriate. It is premature to establish a full discovery and case management schedule for this

MDL or any case within it until the Court rules on a motion to dismiss.


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IV.      GOVERNING PROTOCOLS – PROTECTIVE ORDER, ESI PROTOCOL, AND
         PRESERVATION ORDER

         To promote the efficiencies sought by the JPML, Defendants propose that each case

should be governed by separate -- but substantively identical -- ESI Protocols, Document

Preservation Orders and Protective Orders (collectively, “Document Production Orders”), which

would be captioned in each of the different cases. 3

         These substantively identical Document Production Orders across the cases will avoid

unnecessary expense and confusion. 4 Numerous Plaintiffs and Defendants are parties in multiple

actions involving different drugs. Accordingly, having a single, standard document production

process across all cases will simplify document review and production, and ensure that different

and potentially conflicting obligations and processes are not imposed on these parties.

         To achieve this objective, Defendants propose that within 14 business days of the

appointment of Lead Plaintiffs’ Counsel for the different cases, the parties shall meet and confer

to discuss the terms of Document Production Orders. Upon conclusion of those discussions, the

parties shall submit, through Liaison Counsel, for the Court’s consideration either: (1) joint

proposed Document Production Orders; or (2) competing proposed Document Production

Orders, along with short submissions setting forth their positions.

V.       LEADERSHIP AND LIAISON COUNSEL

         In accordance with Paragraph 4.A of Pretrial Order No. 1 (ECF No. 2), Pretrial Order No.

3 (ECF No. 37), the Transfer Order of the United States Judicial Panel on Multidistrict Litigation


3
 Separate orders are required because the various cases have different plaintiffs and defendants, and concern
different drugs; the relevant document sets will therefore differ.
4
  In the event parties have already made document productions pursuant to Document Production Orders entered by
a different court, as has occurred in the Propranolol cases that had been pending in the Southern District of New
York, in order to promote efficiency, document production in those cases should be governed by the same standards
set out in those orders. Once Plaintiffs’ leadership is settled, the parties can meet and confer on this issue at the
appropriate time.

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(ECF No.194), and Pretrial Order No. 13 (ECF No. 196), Defendants have conferred, reached

consensus, and respectfully request the expansion of Defendants’ liaison counsel to include

representatives from each individual drug case. The following counsel and firms, who

collectively represent at least one Defendant in each of the individual drug cases, can act as a

defense liaison group for coordination with the Court and for administrative purposes for any

global case-issues.


   x   Jan P. Levine, Pepper Hamilton LLP. Ms. Levine currently serves as Defendants’ liaison

       counsel pursuant to the Court’s Pretrial Order No. 3 (ECF No. 37). Defendants

       respectfully request that Ms. Levine continue to serve in her current role as Defendants’

       liaison counsel.

   x   Chul Pak, Wilson Sonsini Goodrich & Rosati PC. Mr. Pak has represented defendants in

       numerous multi-district antitrust class action cases, including In re Capacitors Antitrust

       Litigation (N.D. Cal., 14-cv-03264-JD), In re SRAM Antitrust Litigation (N.D. Cal.,

       M:07-cv-01819-CW) and In re Photochromic Lens Antitrust Litigation (M.D. Fl., 8:10-

       md-2173-JDW-EAJ). Mr. Pak’s curriculum vitae is attached as Exhibit 1 for the Court’s

       consideration.

   x   Sheron Korpus, Kasowitz Benson Torres LLP. Mr. Korpus has represented defendants

       in significant multi-district antitrust class actions, including Behrend v. Comcast Corp.

       (E.D. Pa., 03-6604), Kristian v. Comcast (D. Mass., 03-12466-EFH), In re Air Cargo

       Shipping Services Antitrust Litig. (E.D.N.Y., 06-MD-1775 (JG)(VVP), and In re

       Transpacific Passenger Air Transport Antitrust Litig. (N.D. Cal., No. C 07-05634 CRB).

       Mr. Korpus’ curriculum vitae is attached as Exhibit 2 for the Court’s consideration.




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x   Saul P. Morgenstern and Laura S. Shores, Arnold & Porter Kaye Scholer LLP. Mr.

    Morgenstern has represented defendants in a number of antitrust and pharmaceutical

    multi-district and multi-jurisdictional litigations, including In re Skelaxin (Metaxalone)

    Antitrust Litigation (E.D. Tenn., MDL 2343), In re Rail Fuel Surcharge Antitrust

    Litigation (D.D.C., MDL 1869), In re Pharmaceutical Industry Average Wholesale Price

    Litigation (D. Mass., MDL 1456), In re Compensation of Managerial, Professional and

    Technical Employees Antitrust Litigation (D.N.J. MDL 1471), and In re Brand Name

    Prescription Drug Antitrust Litigation (N.D. Illinois, MDL 997), along with related state

    actions, and has served on joint defense steering committees and as defense liaison

    counsel in several such matters. Ms. Shores has also represented pharmaceutical clients

    in consolidated and multi-district class actions brought under federal and state antitrust

    laws. In addition to In re Brand Name Prescription Drug Antitrust Litigation (MDL

    997), these include In re Lamictal Antitrust Litigation (D.N.J. 2012), and In re K-Dur

    Antitrust Litigation (D.N.J., MDL 1419). Mr. Morgenstern’s and Ms. Shores curriculum

    vitae are attached as Exhibit 3 for the Court’s consideration.




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Dated: April 28, 2017                     Respectfully submitted,

By: /s/ Jan P. Levine                       By: /s/ Chul Pak
Jan P. Levine                               Chul Pak
Robin Sumner                                Jonathan M. Jacobson
Michael Hartman                             Michael S. Sommer
PEPPER HAMILTON LLP                         Jeffrey C. Bank
3000 Two Logan Square                       WILSON SONSINI GOODRICH & ROSATI
Eighteenth & Arch Streets                   Professional Corporation
Philadelphia, PA 19103-2799                 1301 Avenue of the Americas, 40th Fl.
Tel: (215) 981-4000                         New York, NY 10019
Fax: (215) 981-4750                         Tel: (212) 999-5800
levinej@pepperlaw.com                       Fax: (212) 999-5899
sumnerr@pepperlaw.com                       cpak@wsgr.com
hartmanm@pepperlaw.com                      jjacobson@wsgr.com
                                            msommer@wsgr.com
Keith J. Harrison                           jbank@wsgr.com
Shari Ross Lahlou
Astor H.L. Heaven                           Counsel for Mylan Inc., Mylan
CROWELL & MORING LLP                        Pharmaceuticals Inc. and UDL Laboratories
1001 Pennsylvania Avenue, NW                Inc.
Washington, D.C. 20004-2595
Tel. (202) 624-2500                            By: /s/ Saul P. Morgenstern
Fax. (202) 624-5116                            Saul P. Morgenstern
kharrison@crowell.com                          Margaret A. Rogers
slahlou@crowell.com                            ARNOLD & PORTER KAYE SCHOLER
aheaven@crowell.com                            LLP
                                               250 W. 55th Street
Counsel for West-Ward Pharmaceuticals Corp. New York, NY 10019
                                               Tel: (212) 836-8000
By: /s/ Sheron Korpus                          Fax: (212) 836-8689
Sheron Korpus                                  saul.morgenstern@apks.com
KASOWITZ BENSON TORRES LLP                     margaret.rogers@apks.com
1633 Broadway
New York, New York 10019                       Laura S. Shores
Tel: (212) 506-1700                            ARNOLD & PORTER KAYE SCHOLER
Fax: (212) 506-1800                            LLP
skorpus@kasowitz.com                           601 Massachusetts Avenue
                                               Washington, DC 20001
Counsel for Actavis Elizabeth LLC, Pliva Inc., Tel: (202) 942-5000
and Teva Pharmaceuticals USA, Inc.             Fax: (202) 942-5999
                                               laura.shores@apks.com
By: /s/ Christopher T Holding
Christopher T. Holding                         Counsel for Sandoz Inc. and Fougera
       Case 2:16-md-02724-CMR Document 271 Filed 04/28/17 Page 9 of 13



GOODWIN PROCTER LLP                              Pharmaceuticals Inc.
100 Northern Avenue
Boston, Massachusetts 02210                    By: /s Stacey Anne Mahoney
Tel.: (617) 570-1679                           Stacey Anne Mahoney
Fax: (617)523-1231                             MORGAN, LEWIS & BOCKIUS LLP
cholding@goodwinlaw.com                        101 Park Avenue
                                               New York, New York 10178
Counsel for Actavis Holdco U.S., Inc. and Teva Tel: (212) 309-6000
Pharmaceuticals USA, Inc.                      Fax: (212) 309-6001
                                               stacey.mahoney@morganlewis.com
By: /s/ Jan P. Levine
Jan P. Levine                                  Counsel for Breckenridge Pharmaceutical, Inc.
Robin Sumner
Michael Hartman                                By: /s Steven A. Reed
PEPPER HAMILTON LLP                            Steven A. Reed
3000 Two Logan Square                          MORGAN, LEWIS & BOCKIUS LLP
Eighteenth & Arch Streets                      1701 Market Street
Philadelphia, PA 19103-2799                    Philadelphia, Pennsylvania 19103
Tel: (215) 981-4000                            Tel: (215) 963-5000
Fax: (215) 981-4750                            Fax: (215) 963-5001
levinej@pepperlaw.com                          steven.reed@morganlewis.com
sumnerr@pepperlaw.com
hartmanm@pepperlaw.com                         Counsel for Glenmark Pharmaceuticals Inc.,
                                               USA
Counsel for Actavis Holdco U.S., Inc. and Teva
Pharmaceuticals USA, Inc.                      By: /s Scott A. Stempel
                                               Scott A. Stempel
By: /s D. Jarrett Arp                          J. Clayton Everett, Jr.
D. Jarrett Arp                                 MORGAN, LEWIS & BOCKIUS LLP
Daniel W. Nelson                               1111 Pennsylvania Ave., NW
Melanie L. Katsur                              Washington, D.C. 20004-2541
Jason R. Meltzer                               Tel: (202) 739-3000
Christopher B. Leach                           Fax: (202) 739-3001
GIBSON, DUNN & CRUTCHER, LLP                   scott.stempel@morganlewis.com
1050 Connecticut Avenue, N.W.                  clay.everett@morganlewis.com
Washington, DC 20036
Tel: (202) 955-8500                            Counsel for Perrigo New York, Inc. and
Fax: (202) 467-0539                            Perrigo Company
jarp@gibsondunn.com
dnelson@gibsondunn.com                         By: /s/ John E. Schmidtlein
mkatsur@gibsondunn.com                         John E. Schmidtlein
jmeltzer@gibsondunn.com                        Sarah F. Teich
cleach@gibsondunn.com                          WILLIAMS & CONNOLLY LLP
                                               725 Twelfth Street, N.W.
Counsel for Heritage Pharmaceuticals Inc.      Washington, DC 20005
                                               Tel: (202) 434-5000

                                             9
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By: /s Devora W. Allon                         jschmidtlein@wc.com
Devora W. Allon                                steich@wc.com
Jay P. Lefkowitz
KIRKLAND & ELLIS LLP                           Counsel for Par Pharmaceutical, Inc.
601 Lexington Avenue
New York, NY 10022                             By: /s/ J. Douglas Baldridge
Tel: (212) 446-4970                            J. Douglas Baldridge
devora.allon@kirkland.com                      Lisa Jose Fales
                                               Danielle R. Foley
Counsel for Upsher-Smith Laboratories, Inc.    VENABLE LLP
By: /s Devora W. Allon                         600 Massachusetts Avenue, NW
Devora W. Allon                                Washington, DC 20001
Jay P. Lefkowitz                               Tel: (202) 344-4000
Joseph Serino, Jr., P.C.                       jbaldridge@venable.com
KIRKLAND & ELLIS LLP                           ljfales@venable.com
601 Lexington Avenue                           drfoley@venable.com
New York, NY 10022
Tel: (212) 446-4970                            Thomas J. Welling, Jr.
devora.allon@kirkland.com                      VENABLE LLP
jay.lefkowitz@kirkland.com                     1270 Avenue of the Americas
joseph.serino@kirkland.com                     24th Floor
                                               New York, NY 10020
Douglas J. Kurtenbach                          Tel: (212) 307-5500
KIRKLAND & ELLIS LLP                           tjwelling@venable.com
3 00 North LaSalle
Chicago, Illinois 60654                        Counsel for Taro Pharmaceuticals U.S.A., Inc.
Tel: (312) 862-2000                            and Sun Pharmaceutical Industries, Inc.
Fax: (312) 862-2200
douglas.kurtenbach@kirkland.com                By: /s/ Damon W Suden
                                               Damon W. Suden
Counsel for Akorn, Inc. and Hi-Tech            William A. Escobar
Pharmacal Co., Inc.                            KELLEY DRYE & WARREN LLP
                                               101 Park Avenue
Jennifer G. Levy                               New York, New York 10178
Jason R. Parish                                Tel.: (212) 808-7771
Jacob M. Boyars                                Fax: (212) 808-7897
KIRKLAND & ELLIS LLP                           dsuden@kelleydrye.com
655 Fifteenth Street N.W.                      wescobar@kelleydrye.com
Washington, D.C. 20005
Tel: (202) 879-5000                            Counsel for Wockhardt USA, LLC and Morton
Fax: (202) 879-5200                            Grove Pharmaceuticals, Inc.
jennifer.levy@kirkland.com
jason.parish@kirkland.com
jacob.boyars@kirkland.com                      By: /s/ Christine C. Levin
                                               Christine C. Levin
Counsel for Zydus Pharmaceuticals (USA),       DECHERT LLP

                                              10
       Case 2:16-md-02724-CMR Document 271 Filed 04/28/17 Page 11 of 13



Inc.                                    Cira Centre
                                        2929 Arch St
Raymond A. Jacobsen, Jr.                Philadelphia, PA 19104
Paul M. Thompson                        Tel: (215) 994-4000
McDermott Will & Emery LLP              christine.levin@dechert.com
500 North Capitol Street, N.W.
Washington, DC 20001                    Counsel for Citron Pharma, LLC
Tel: 202-756-8028
rayjacobsen@mwe.com                     By: /s/ Michael Martinez
pthompson@mwe.com                       Michael Martinez
                                        Steven Kowal
Nicole L. Castle                        Lauren Norris Donahue
McDermott Will & Emery LLP              Brian J. Smith
340 Madison Avenue                      K& L GATES LLP
New York, NY 10173                      70 W. Madison Street, Suite 3100
Tel.: (212) 547-5480                    Chicago, IL 60602
Fax: (212) 547-5444                     Tel: (312) 372-1121
ncastle@mwe.com                         Fax: (312) 872-8000
                                        michael.martinez@klgates.com
Counsel for Impax Laboratories, Inc.    steven.kowal@klgates.com
                                        lauren.donahue@klgates.com
By: /s/ Heather K. McDevitt             brian.j.smith@klgates.com
Heather K. McDevitt
Bryan D. Gant                           Counsel for Mayne Pharma Inc.
WHITE & CASE LLP
1221 Avenue of the Americas             By: /s/ Brian T. Feeney
New York, New York 10020                Brian T. Feeney
Tel.: (212) 819-8200                    GREENBERG TRAURIG, LLP
Fax: (212) 354-8113                     1700 Two Commerce Square
hmcdevitt@whitecase.com                 2001 Market Street
bgant@whitecase.com                     Philadelphia, PA 19103
                                        Tel: (215) 988-7812
Counsel for Teligent, Inc.              Fax: (215) 717-5265
                                        feeneyb@gtlaw.com
By: /s/ Gerald E. Arth
Gerald E. Arth                          Roger B. Kaplan
Theodore H. Jobes                       GREENBERG TRAURIG, LLP
Ryan T. Becker                          500 Campus Drive, Suite 400
FOX ROTHSCHILD LLP                      Florham Park, NJ 07932-0677
2000 Market Street, 20th Floor          Tel: (973) 360-7957
Philadelphia, PA 19103                  Fax: (973) 295-1257
Tel: (215) 299-2000                     kaplanr@gtlaw.com
Fax: (215) 299-2150
garth@foxrothschild.com                 James I. Serota
tjobes@foxrothschild.com                GREENBERG TRAURIG, LLP
rbecker@foxrothschild.com               MetLife Building

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                                          200 Park Avenue
By: /s/ George G. Gordon                  New York, NY 10166
George G. Gordon                          Tel: (212) 801-2277
Stephen D. Brown                          Fax: (212) 224-6155
Julia Chapman                             serotaj@gtlaw.com
Christopher Trueax
DECHERT LLP                               Counsel for Dr. Reddy’s Laboratories, Inc.
2929 Arch Street
Philadelphia, PA 19104-2808               By: /s/ Jeffrey D. Smith
Tel: (215) 994-2000                       Jeffrey D. Smith
Fax: (215) 994-2222                       DECOTIIS, FITZPATRICK, COLE &
george.gordon@dechert.com                 GIBLIN, LLP
stephen.brown@dechert.com                 500 Frank W. Burr Blvd., Suite 31
julia.chapman@dechert.com                 Teaneck, NJ 07666
christopher.trueax@dechert.com            Tel: (201) 928-1100

Counsel for Lannett Company, Inc.         Counsel for Epic Pharma, LLC

By: /s/ James W. Matthews                 By: /s/ Leiv Blad
James W. Matthews                         Leiv H. Blad
Katy E. Koski                             Zarema A. Jaramillo
Joseph H. Jolly                           LOWENSTEIN SANDLER LLP
FOLEY & LARDNER LLP                       2200 Pennsylvania Avenue, NW
111 Huntington Avenue                     Washington, DC 20037
Boston, MA 02199                          Tel: (202) 753-3800
Tel: (617) 342-4000                       Fax: (202) 753-3838
Fax: (617) 342-4001                       lblad@lowenstein.com
jmatthews@foley.com                       zjaramillo@lowenstein.com
kkoski@foley.com
jjfoley@foley.com                         Katie R. Glynn
                                          LOWENSTEIN SANDLER LLP
By: /s/ Terry M. Henry                    390 Lytton Avenue
Terry M. Henry                            Palo Alto, CA 94301
Melanie S. Carter                         Tel: (202) 753-3824
BLANK ROME LLP                            Fax: (202) 753-3838
One Logan Square 130 North 18th Street    kglynn@lowenstein.com
Philadelphia, PA 19103-6998
Tel: (215) 569-5500                       Counsel for Lupin Pharmaceuticals, Inc.
Fax: (215) 569-5555
thenry@blankrome.com                      By: /s/ Bobby S. Burchfield
mcarter@blankrome.com                     Bobby S. Burchfield
                                          Brian R. Meiners
Counsel for Apotex Corp.                  Lauren A. Warner
                                          Christopher C. Yook
By: /s/ Seth A. Goldberg                  KING & SPALDING LLP
Wayne A. Mack                             1700 Pennsylvania Avenue NW, Suite 200

                                         12
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Seth A. Goldberg                          Washington, DC 20006
DUANE MORRIS LLP                          Tel: (202) 626-5524
30 South 17th St.                         Fax: (202) 626-3737
Philadelphia, PA 19103                    bburchfield@kslaw.com
Tel: (215) 979-1175                       bmeiners@kslaw.com
Fax: (215) 689-4923                       lwarner@kslaw.com
wamack@duanemorris.com                    cyook@kslaw.com
sagoldberg@duanemorris.com
                                          Counsel for Rouses Point Pharmaceuticals,
Counsel for Aurobindo Pharma USA, Inc.    LLC




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